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   Cone of Response




   A satellite image of the response area. Satellite imagery was used to locate oil
   and direct response efforts in a timely manner.
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                                                                                                                                    SOURCE CONTROL


                                                                                                                                    High-volume Mechanical
                                                                                                                                        Recovery Group


         AIR OPS
                                                                                                                                          Controlled
                                                                                                                                         Burning Group




                                      RAPID ASSESSMENT
                                         TEAMS (RAT)                                                                                   Aerial Dispersant
                                                                                                                                             Group


                                                                             SHORELINE CLEANUP
                       ONSHORE                                                ASSESSMENT TEAM
                                                                            (SCAT) - INTELLIGENCE
                       BRANCH
                                                                                                                                     Free-Oil Recovery Group
                        •Pre-impact Cleanup                                                                                         (Highly Mobile Skimmers)
                        •Sensitive Area Identification and Prioritization
                        •Waste Management




              Boom To Protect


            MARSH ENVIRONMENT
              SENSITIVE AREAS                                                                                                    CONE OF RESPONSE


This diagram highlights the array of forces deployed from the source to the shore to locate, assess, remediate and remove oil.
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     Wildlife
     The response team worked hard in cooperation with wildlife experts, both inside and outside the government, in order
     to try to protect wildlife and sensitive habitats by accelerating response, and to rescue and rehabilitate wildlife affected
     by the spill.

     Prior Practice in Wildlife Response: In the event of a spill, best practice is to call in professionals with an intimate
                                                                                                                                    Supplemental multimedia
     knowledge of the most sensitive species and their habitats and trained to observe, protect and rescue wildlife.                available for this subject:
                                                                                                                                    Response Video 3:
                                                                                                                                    Wildlife
     Response Team Efforts to Protect and Rescue Wildlife: The response team stepped up to the challenge of providing
     the full resources needed to protect and rescue affected wildlife, including:

          •    The fourfold expansion of experts engaged for community response;

          •    New systems to more closely integrate wildlife teams into the overall response effort to expedite
               resources and support;

          •    The setup of wildlife response call centers with a public hotline publicized in advertising and on the BP.com
               website, with progress toward rapid response times of under an hour;

          •    The establishment of animal treatment facilities, for example the capacity to treat up to 10,000 birds; and

          •    A dedicated plan to protect sensitive rookeries.
36
     Resulting Capabilities: The wildlife protection and rescue effort has created the following capabilities:

          •    A substantially expanded and rapidly deployable pool of trained response workers across the Gulf region;

          •    Protocols and procedures to better integrate and support wildlife protection and rescue teams and for the
               standup of call centers, a public hotline and rapid response capacity; and

          •    Procedures for the protection of sensitive nesting areas.




                                                                     CAPABILITY HIGHLIGHT
                                                                     An expanded pool of trained responders along with protocols
                                                                     and procedures to integrate and support accelerated
                                                                     response to impacts on wildlife
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                                                                                                                                        37




   The capture, treatment and release of birds. The team of experts engaged and trained for community response was expanded fourfold.
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     Vessels of Opportunity
     Vessels of Opportunity (VOO) embodied the concept of collaboration as an instrumental part of spill response.
     The impact of the spill on communities, including many fishermen and other vessel owners, from Louisiana to
     Florida led to an unprecedented number of applicants and participants for the VOO program. In responding to this
     demand, the team learned that, when properly integrated into the command structure, VOO can serve not only as a
     community-engagement tool but also fulfill an impressive range of response operations.

     Prior Practice on VOO: The VOO program has existed in concept for more than two decades. However, while a
     VOO equivalent was established in Alaska in the wake of the Exxon Valdez spill and continues in operation today
     as a preparedness measure, the Deepwater Horizon response drew on the unparalleled resources of Gulf Coast
     shipmasters and crew.




                                                                                                                                   Supplemental multimedia
                                                                                                                                   available for this subject:
                                                                                                                                   Response Video 4:
                                                                                                                                   Vessels of Opportunity




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     Several of the 5,800 vessels employed in the Vessels of Opportunity (VOO) program. The VOO program capitalized
     on local mariners’ knowledge of area shorelines and waters.




                                              CAPABILITY HIGHLIGHT
                                              In the VOO program, the foundations for a vetted, trained, and knowledgeable fleet
                                              of committed shoreline and community responders fully integrated into the overall
                                              effort through a replicable command structure
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   Response Team Actions on VOO: The response effort has fully embedded and greatly benefited from the
   implementation of the VOO program:

        •    The establishment of a 5,800-vessel VOO fleet, providing employment to local mariners and empowering
             them to participate in the protection of their coastlines;

        •    The full integration of VOO into response teams, and the expansion of its scope beyond transport and
             logistics to booming, skimming, and even participation in controlled in-situ burning. The response team
             has frequently capitalized on vessel owners’ knowledge of local shorelines and waters and their insight on
             the effect of currents on oil flow in sensitive coastal areas;

        •    Development of a systematic approach to selection, inspection, training, badging and equipping to meet
             Occupational Safety and Health Administration (OSHA) and other regulatory requirements; and

        •    The organization of fleets into task forces with specific accountabilities within a command and control
             structure. A VOO fleet requires rigorous tasking within the incident command structure.

   Resulting Capabilities: The VOO program offers strong potential as a part of a future response system:

        •    A proven capability to rapidly deploy a vetted and trained fleet of near-shore responders with a deep
             knowledge base and passion for protecting their shorelines and communities;

        •    A structured program and protocols for on-boarding and tasking, including recruitment, vetting, sorting by   39
             use, badging, training and observation of regulatory requirements;

        •    A model for integration and a replicable command structure; and

        •    The opportunity to “do the right thing” by involving a vital element of shoreline communities and
             providing employment for individuals and families in the affected areas.




   Vessel of Opportunity (VOO) operators. The VOO program demonstrates the capability to rapidly
   deploy a vetted and trained fleet of near-shore responders.
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     Assessment and Surveillance
     Common Operating Picture
     The Common Operating Picture (COP) created an integrated view across more than 200 previously disparate data types,
     employing newly developed equipment and technology to provide a seamless and rapid assessment of the entire
     response effort. The COP has ensured that responders and leaders in command posts and the field have accurate,
     reliable information indispensable to good decision-making, effective communications with local officials and the
     public, and a systematic and coordinated spill response.

     Prior Practice on Information-Sharing: Responding to oil spills at scale involves a multitude of data sources and
     requires agreement on the right data to use to guide deployment of resources. In particular, responders need to “know
     their oil” – where it is and what state it is in – to direct the correct response.

     Infrastructure must be in place to ensure that information is collected and shared in a way that ensures a common
     perspective on response strategies, coordination and optimal allocation of resources.

     The Evolution of the Common Operating Picture: The team developed the COP to provide an instant, interactive
     and accurate visual of the spill status and response activities for all responders.

     The COP:

40       •      Builds on the key concept of “knowing your oil,” providing comprehensive, continuous data on the location
                and nature of oil on the water and onshore;

         •      Creates a central nervous system spanning “space to sky to sea to shore,” linking the full range of responders
                and providing capability to input as well as receive data;

         •      Is accessible via a flexible internet platform over personal computers and hand-held devices;

         •      Collects multiple inputs from the full range of responders in the air, on the water and onshore, along with
                geographic information system (GIS) data, NOAA and EPA databases and other sources for the most up-to-
                date mapping of the spill;

         •      Offers ongoing updates on response efforts including boom and buoy placement and the location of
                nearshore/open-water skimming vessels and burning activities; and

         •      Offers a powerful tool for communications with local officials, coordinating activities and directing resources.




                                                                    CAPABILITY HIGHLIGHT
                                                                    Single, comprehensive and integrated view of the entire
                                                                    response effort from sky to sea to shore to enable rapid,
                                                                    coordinated decision-making
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   Common Operating Picture (COP)




   The Common Operating Picture (COP) builds on the concept of “knowing your oil,” providing the entire response team
   comprehensive, continuous data on the location and nature of oil on the water and onshore.
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       -$-    Deepwater Horizon Incident Site       Oil Observations 5-25-2010
       ;t.3 Potential Oiling Footpringts5-25-2010
     A reas of Operations
                                                     ••   NOO
                                                          Heavy
       t;iI   Area Command                                 Moderate
       t;iI   ICP
                                                      •   Light


       @
        (J    Command
              Branch
                                                    Trigger l evels
                                                     []   baSE!
                                                                                    Common Operating Picture (COP) - Gulf Coastline
                                                          elevated
                                                          guarded
                                                     [] acticm


           Environmental                  ~ M2I1agmtall A~cuion
    ERMA I Gulf  of Mexico


The Common Operating Picture (COP) provides a virtually real-time assessment of the entire response effort,
providing responders and leaders in command posts and the field access to the same information.
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         Resulting Capabilities: The COP offers numerous potential benefits for future response efforts:

         •    A fully developed, instantly deployable system for reliable, up-to-date and comprehensive common
              communications and information;

         •    Rapid decision-making, prioritization, and effective resource deployment, and

         •    State-of-the-art and readily available information tools.

     Tactical Communications
     Coordinating activities of the response team required extensive communications capability, which in turn required the
     installation of robust information platforms – including much of the physical infrastructure – covering five states across
     the Gulf Coast.

     Prior Tactical Communications Infrastructure: No spill response effort had ever had to coordinate activities across
     five states spanning the Gulf Coast. The scale of the response, the number of agencies responding and varied nature of
     operational activities – from ICPs and branch offices to the air to near-shore and open-water vessels to onshore SCATs
     and marsh- and beach-cleaning units – required a number of communications platforms, as no one platform could
     provide response wide capability and capacity.

     Moreover, the development of a COP required a robust information backbone accessible to the response units as well as
     government agencies.
42
     Response Team Efforts to Build a Tactical Communications Infrastructure: Supported by BP information
     technology unit, the response team moved rapidly to put in place the communications hardware and software needed
     to coordinate its efforts, including:

         •    Construction of a repeater radio system spanning 26 leased towers from the Florida Panhandle to near the
              Louisiana/Texas border and providing communications links among the ICPs branch offices, vessels near-shore
              and in the open water, pilots/spotters and shore units (marshes, beaches). The repeater system included
              marine VHF, aviation band and BP “business band” connections;

         •    Streaming of the radio system over an Internet connection available to responders;

         •    The development of the software “data warehouse,” linked to NOAA Environmental Response Management
              Application® (ERMA), that provided the backbone for the COP; and

         •    The use of secure of “cloud computing” operations allowing the team to rapidly scale collaboration tools.




                                                       CAPABILITY HIGHLIGHT
                                                       An in-place repeater radio system stretching from the Florida Panhandle
                                                       to Louisiana and a robust software information backbone supporting
                                                       communications across response activities
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   Resulting Capabilities: The tactical communications effort left behind a range of capabilities deployable by any future
   response operations:

        •     An existing repeater radio system of 26 towers across the Gulf outfitted with aviation band and VHF marine
              band connections;

        •     A robust information backbone to power the COP; and

        •     Protocols for the development of secure cloud computing support for collaboration tools.




                                                                                                                                              43




   The tactical communications effort involved construction of a repeater radio system spanning four states, providing communications links
   among the ICPs, branch offices, vessels, aircraft and shore units.
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     Shoreline Clean-up Assessment Teams (SCATs)
     The Shoreline Clean-Up Assessment Teams (SCATs), made up of scientists from BP, the NOAA, state Departments of
     Environmental Quality and state universities, play a critical role in the preparation, planning and validation of shoreline
     protection and treatment.

     Prior SCAT Practice: Standard procedure in the wake of a spill has been to convene a SCAT to engage in important
     activities, including:

          •     Pre-assessment before probable oil contact, key in determining the extent of damage;

          •     Initial assessment after the spill reaches the shore, reporting back to the response team with findings and
                shoreline treatment recommendations (STRs). SCAT experts are equipped to verify the presence of oil, identify
                the nature and source of potential contamination, and make treatment recommendations; and

          •     Post-assessment to validate the success of shoreline treatment efforts.




                                                                                                                                   Supplemental multimedia
                                                                                                                                   available for this subject:
44                                                                                                                                 Response Video 5:
                                                                                                                                   SCAT in Action




     A member of a Shoreline Clean-up Assessment
     Team (SCAT) completes an assessment.
     Standardized data collection protocols and
     centralized analysis systems helped ensured
     response resources were allocated effectively.
                                                           CAPABILITY HIGHLIGHT
                                                           Modular scale-up of SCATs, a critical asset in shoreline assessment,
                                                           remediation and mapping, with protocols ensuring consistency of
                                                           process and data collection
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   Expansion of the SCAT Program: The response team capitalized on the capabilities of the SCAT program through:

       •    The development of a new model of centralized organization, with linkages at the top to drive standardized
            protocols and ensure quality control in the collection of data across a massive theater of operation
            including four ICPs;

       •    The modular expansion to 16 SCATs, which assessed approximately 8,000 miles of shoreline, of which
            approximately 1,700 miles was marsh area. The SCATs, composed of scientists from government agencies and
            BP, are each led by a qualified academic from a state university;

       •    The establishment of liaisons and division of labor between SCATs and Rapid Assessment Team (RATs), who are
            tasked with providing an early warning system for the approach of oil in the near-shore environment, as well
            as Forensic Rapid Assessment Teams (FRATs) who determine whether potential contamination is actually oil or
            substances such as sargassum or algae bloom;

       •    The systematic and detailed management of SCAT survey data in a common NOAA database across the
            theater of operations; and

       •    The generation of a cultural/archaeological catalog in coordination with experts including State Historic
            Preservation Offices (SHPOs) and the National Park Service.

   Resulting Capabilities: The response team advanced the work of the SCATs, providing a series of potential benefits
   that goes beyond future remediation efforts:                                                                            45


       •    A deep bench of trained experts that can be rapidly re-established and redeployed, if needed to respond to a
            future spill of any size;

       •    New protocols ensuring consistency of process and data collection;

       •    New systems including the FRAT/RAT liaisons and database improvements; and

       •    Updated mapping of the shape and characteristics of thousands of miles of ever-changing coastline.
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     Air Surveillance
                                                                In this response, aerial surveillance served an expanded role
                                                                as the critical coordination mechanism for more than 6,000
                                                                response vessels, alerting controlled in-situ burn teams to fresh
                                                                oil and directing skimmers to the right locations. The recognition
                                                                that “eyes on oil means boats on oil” drove the response
                                                                                                                                         Supplemental multimedia
                                                                team to continuous improvements of its efforts in open-water             available for this subject:
                                                                surveillance – tracking, spotting, recognizing and reporting to          Response Video 6:
                                                                                                                                         Air Surveillance
                                                                water-based teams the presence and location of oil on the water,
                                                                as well as its nature. In addition, air surveillance served as one of
                                                                the first responders feeding real-time photos and location
                                                                data to the COP.

                                                                Best Practices in Air Surveillance: Surveillance efforts required
                                                                experienced spotters with the ability to distinguish actual oil
                                                                on the water from seaweed, shadows or other “spots,” to avoid
                                                                misdirection of resources.

                                                                Tracking oil required a large number of sorties night and day
                                                                to keep up with the rapidly changing location and condition
                                                                of surface oil. Intercepting the oil required communications
                                                                equipment that was interoperable between air- and water-based
46   Tactical surveillance operations to direct water-based
     responders on a real-time basis from the air.
                                                                responders.

                                                           Response Team Strategy for Air Surveillance: Working with
     the Coast Guard, NOAA, State Fisheries, the National Geospatial Intelligence Agency (NGIA), the U.S. Air Force, as well as
     other government resources, and several international and commercial providers of advanced sensing equipment, the
     response team undertook the following steps:

          •     Use of a “tactical surveillance” strategy in which surveillance teams directed water-based responders on a
                real-time basis from the air;

          •     Nearly 100 sorties on peak days, including night flights using a virtual air-traffic control system, offshore
                platforms to refuel and rigorous tasking of aircraft;




                                                              CAPABILITY HIGHLIGHT
                                                              The use of strategic and tactical aerial surveillance, including up to
                                                              100 sorties on peak days, to serve not only as eyes of the response, but
                                                              as directors for open-water and on-shore activities
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       •    The deployment of state-of-the-art imaging and location tools, including the integration and calibration of
            satellite imagery with multi-spectral and thermal photography, side-looking aerial radar (SLAR), infrared sensing
            and field observations, to improve the ability to distinguish sheen from skimmable/burnable oil and generate
            an up-to-date and significantly more accurate operating picture;

       •    The establishment of common communications linkages between airborne units and vessels and the
            connection of both to the COP;

       •    Air de-confliction, scheduling and optimization of daily overflights at Tyndall Air Base;

       •    The development of detailed taxonomy and training materials on characteristics of oil in open-water in
            different environments; and

       •    A team of around 100 experienced and newly trained oil spotters paired with fixed-wing and helicopter pilots.

   Resulting Capabilities: Replicable capabilities include:

       •    A proven method of tactical surveillance to drive speed, accuracy and efficiency in response in
       •    dispatching vessels;

       •    The integration of satellite imagery and other technologies with field observations to locate and track oil and
            distinguish its characteristics;
                                                                                                                                47
       •    A cadre of more than 100 spotters with basic and advanced training on the ability to “know their oil” to assure
            the right tool is chosen; and

       •    Advanced flight scheduling, service and prioritization to get and keep more flights in the air.
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     Prevention
     Branch Office Structure
     The evolution of the Branch Office Structure exemplifies the concept that “oil spill response is local.” Across the Gulf
     Coast, 19 branch offices were created to greatly expand coordination and planning capability, increase responsiveness,
     engage local knowledge, increase deployment accuracy, and serve as hub for community outreach. Once established,
     the branch offices across the Gulf Coast drove all of the near-shore and on-shore response activities and often effectively
     engaged local stakeholders in the response.

     Prior Practice on Branch Office Structure: To grow scale in the first month of the incident, the entire Gulf response
     was divided into four ICPs in addition to the Houston ICP for source control, with largely centrally allocated resources.
     During this growth phase, assets including vessels, planes and personnel were controlled and allocated at the ICP level.

     The Evolution of the Branch Office Structure: The response team made the activation and empowerment of a
     strong Branch Office Structure a top priority through:

           •    The establishment of 19 branch offices with staff sizes varying from 35 to around 2,300, as well as access to
                experts, equipment and supplies;




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     A briefing in a branch office. Nineteen branch
     offices established across the Gulf Coast drove
     all of the near-shore and on-shore response
     activities and often effectively engaged
     local stakeholders.

                                                                    CAPABILITY HIGHLIGHT
                                                                    A system of branch offices, reflecting the insight that “all oil
                                                                    spill response is local,” with the clear mission, authority and
                                                                    dedicated resources to protect local coastlines
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        •     The clear mission and authority to oversee activities relating to a specific stretch of local coastline in
              accordance with the overall ICP strategic direction. Branch office directors implemented decisions regarding
              assets under their control; and

        •     The mandate to engage with state and local agencies and officials, responding to their concerns and giving
              them a voice in the process.

   Resulting Capabilities: The establishment, empowerment and resourcing of branch offices will help ensure the
   effectiveness of response in a number of ways:

        •     Rapid and effective near-shore response capability through strong operating leadership at the local level;

        •     Direct involvement in response, better access and greater understanding of strategies and priorities on the part
              of state and local officials;

        •     The tapping of local knowledge and the delegation of necessary authority to the community level where it is
              often most effective in solving and providing early warning of problems; and

        •     Greater accountability for execution in solving problems, addressing local concerns and protecting coastlines.




                                                                                                                                 49




   The establishment of branch offices provided rapid and effective near-shore response capability
   through strong operating leadership at the local level.
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     Open-Water Skimming
     While skimming oil from water had been tried and tested through other responses, the scale and duration of this
     response, along with the frequently dynamic and variable nature of oil characteristics, proved a new challenge for
     skimming. This challenge drove significant improvements to skimming equipment, along with new approaches to
     organization, maintenance, and deployment of skimmers.

                                                                                                                                 Supplemental multimedia
     Existing Practice in Open-Water Skimming: Skimming fleets are staged along coastline across the United States.              available for this subject:
     For this spill, all Gulf Coast skimming assets were immediately deployed to skim oil. Due to the need for change-out        Response Video 8:
                                                                                                                                 Open Water Skimming
     of crews, repair, refueling and resupply, the longest continuous runtime in previous spills had lasted 14 days. One
     long-standing challenge to skimming is that hydrocarbons are encountered in various states: oil can be significantly
     weathered or emulsified, degraded and found in dense or grease-like mats.

     Improvements in Open-Water Skimming to Respond to the Deepwater Horizon Incident: The response team
     took actions including:

         •    A skimming capacity of more than 1.2 million barrels per day* -- the largest such capacity in history;

         •    Deployment of more than 60 open-water skimmers at the peak of the response through retrofit of existing
              vessels and international cooperation. This deployment included twelve responder class vessels on-site by day
              five, as well as a number of vessels provided by the Coast Guard;

         •    An innovative “command and control” system that combined air intel with an on-water director coordinating
50            all skimming traffic centrally for optimal placement of vessels;

         •    The deployment of four “Big Gulp” skimmers, based on an innovation by a barge owner who retrofitted his
              own vessel to handle emulsified oil and sea grass;

         •    The development of an innovative 72-hour “pit stop” for skimmers extending runtime to more
              than 100 days; and

         •    New techniques to improve the efficiency of skimming operations in deepwater, including enhanced
              booming, centrifuge separation of fluid on skimming vessels and barges, and the deployment of the TransRec
              150 on a 280 foot Platform Support Vessel (PSV), a new generation skimmer from Norway.




              * Capacity computed as “estimated
              daily response capacity” according to
              Coast Guard and BOEMRE regulations.
                                                                      CAPABILITY HIGHLIGHT
                                                                      New, highly scalable skimming technology, maintenance
                                                                      and deployment systems that enabled the largest skimming
                                                                      response in history
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                                    Response Capabilities: Response operations for spills of any size in the future can be based on:

                                    •    New capability to convert offshore and platform supply vessels to skimmers; and

                                    •    An expanded network of skimming experts and experienced crews.




Supplemental multimedia
 available for this subject:
   Skimming Overview




                                                                                                                                       51




                               At the peak of the response more than 60 open-water skimmers were deployed within an innovative
                               “command and control” system which combined air intel with on-water, central coordination of skimming
                               traffic for optimal vessel placement.
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     Controlled In-Situ Burning
     Through this response, controlled in-situ burning has undergone a step change from a conceptually tested approach
     to a proven and mission-critical method for removing oil from open-water. Techniques, understanding of burn criteria,
     preservation of specialized fireboom, and the base of experts have all been significantly augmented through the
     experiences gained in this response.

                                                                                                                                         Supplemental multimedia
     Existing Practice in Controlled In-Situ Burning: Prior to the Deepwater Horizon incident, controlled in-situ burning                available for this subject:
                                                                                                                                         Response Video 9:
     of spilled oil had occurred only once in open U.S. waters -- one burn conducted in Prince William Sound during the                  Controlled In-Situ Burning
     Exxon Valdez incident.

                                                                     Advances by the Response Team in the Use of Controlled
                                                                    In-Situ Burning: With the assistance of the foremost experts
                                                                    on controlled in-situ burning and the full cooperation of
                                                                    government authorities, the response team established a new
                                                                    standard for the use of the practice:

                                                                    • Performed 411 controlled burns, the longest lasting nearly
                                                                      12 hours, remediating an estimated 265,000 barrels of oil;

                                                                    • Trained and deployed 10 teams and increased the number of
                                                                      qualified experts from fewer than ten to more than 50;

52                                                                  • Drove improvements in fireboom technology, including
                                                                      water-cooled and reusable booms;

                                                                    • Designed new techniques to contain, control, and direct burns
                                                                      and a “dynamic burn” process that allows continuous feeding
                                                                      of the ongoing burn with new oil to increase controlled in-situ
                                                                      burn length;

                                                                    • Developed and deployed a new manual ignition technique;


     A controlled in-situ burn in open water. Controlled in-situ
                                                                    • Created new safety techniques, including the use of colored
     burning of spilled oil, which had occurred only once in U.S.     tarps for aerial identification of controlled burn-capable
     waters, was elevated to one of the most effective means of
                                                                      vessels; and
     removing oil during the response.

                                                                    • Identified factors for determining the appropriateness of
                                                                      controlled in-situ burning.




                                                                         CAPABILITY HIGHLIGHT
                                                                         Demonstration of controlled in-situ burning as a fully proven
                                                                         technique for oil recovery, featuring advanced methodology,
                                                                         equipment and a standing expert base
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   Resulting Capabilities: As a result of the response team’s efforts, controlled in-situ burning is now an established
   methodology in the response toolkit with:

        •     New techniques, technology, protocols and procedures increasing the availability, effectiveness and safety of
              controlled in-situ burning as a means of dealing with spills in the open-water;

        •     A corps of trained and catalogued operators and experts; and

        •     A remaining inventory of existing and field-tested fireboom, as well as a significantly enhanced supply chain
              capable of expanding production to deliver the 23,000 feet of total fireboom deployed.




                                                                                                                              53




   A number of techniques developed during the response, including dynamic burning and
   vectoring, allowed teams to control the direction of burns, extend the length of burns, and
   conduct multiple burns at the same time.
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     Aerial Dispersants
     The application of dispersants under the direction of Unified Command at the subsea source and in the open water
     may have been the most effective and fastest-mobilized tool for minimizing shoreline impact. Multidisciplinary global
     expertise was mobilized to drive success in a very complex operation.

     Existing Practice with Dispersants: The use of dispersants in open water has been conducted since the 1990s under
     strict protocols and is backed by solid science. In the initial stages of the Deepwater Horizon spill response, dispersants
     were a primary response method and were sprayed on the surface waters from aircraft.




                                                                                                                                      Supplemental multimedia
                                                                                                                                      available for this subject:
                                                                                                                                      Response Video 10:
                                                                                                                                      Dispersants




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     A plane targets dispersant to break up oil before it reaches shore. The response team increased the
     effectiveness of dispersant application through process and supply chain improvements, the use of
     imaging and other technologies, and the establishment of sampling and monitoring programs.




                                                                CAPABILITY HIGHLIGHT
                                                                Precise and effective application of dispersants driven by advanced
                                                                surveillance technology and operational streamlining supported by a
                                                                network of global experts
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   The Response Team’s Efforts with Dispersants: Working under the guidance of the EPA and with the direct approval
   of the Coast Guard Federal On-Scene Coordinator, the response team increased the effectiveness of dispersant
   application through:

       •    The aerial application of dispersant in approximately 400 sorties, initiating use within two days of the spill;

       •    Process improvements to optimize the number and targeting of sorties;

       •    The use of imaging and other technologies involving trained spotters to increase the precision of and to mini-
            mize the volume of dispersant applications;

       •    Improvements in the supply chain to increase the availability of Corexit dispersant to ensure that operations
            were never constrained by supply; and

       •    The establishment of detailed sampling and monitoring programs by the responsible government
            agencies and BP.

   EPA has to date performed two rounds of important studies of the dispersants used in the Deepwater Horizon response.
   Those studies have demonstrated that overall, dispersants have greater benefits for the environment in responding to a
   spill than potential risks. BP is supporting additional studies of this issue.

   Resulting Capabilities: The improved targeting and evidence-based use of dispersants offer strong benefits to
   future response efforts:                                                                                                   55


       •    Success in minimizing the amount of oil on the surface;

       •    Optimal processes for aerial application of dispersants;

       •    The opportunity for ongoing improvement in tests to demonstrate safety and effectiveness, as well as for
            public education about the benefits of dispersant use;

       •    Supply chain capacity to ensure adequate supply of the most effective dispersant; and

       •    Close collaboration with a network of experts on dispersant use and assessment.
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     Booming
     The Deepwater Horizon response has included the largest deployment of boom in the history of spill response – to
     date, the response has mobilized more than 14 million feet and deployed approximately 4.2 million feet of containment
     boom and approximately 9.1 million feet of sorbent boom. While booming is one of the most high-profile methods for
     protecting shorelines, its application is often misunderstood.

     Booming can be effective when applied through well-established and tested strategies that:

          •     Account for current, wind, sea state and shoreline type;

          •     Acknowledge that natural forces will significantly detract from the effectiveness of boom; and

          •     Reflect the fact that in many situations, other tactics can provide better protection of the shoreline.

     Prior Booming Practice: Boom comes in different types and widely varying commercial quality. Containment boom
     is used to block or contain oil slicks, while sorbent boom is selectively permeable so that it absorbs oil and not water.
     These types of booms are often used in combination, especially to protect critical ecosystems such as rookeries.




56
                                                                                                                                          Supplemental multimedia
                                                                                                                                          available for this subject:
                                                                                                                                          Response Video 11:
                                                                                                                                          Booming




     As part of the 24/7 response operation,
     workers load boom onto a vessel for
     deployment.



                                                           CAPABILITY HIGHLIGHT
                                                           The largest mobilization of boom in any oil spill response – a total of more
                                                           than 14 million feet – and significant expansion of the supply chain and of
                                                           the number of experts
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   The Response Team’s Activities in Boom Deployment: The Deepwater Horizon spill response team, cooperating
   with government officials at all levels as well as environmental experts, worked to maximize the use of boom to keep oil
   out of sensitive ecosystems while ensuring that the nature and location of application was appropriate.
   Its actions included:

        •    Deployment of approximately 4.2 million feet of containment boom and 9.1 million feet of sorbent boom;

        •    Cooperation with environmental and wildlife experts to optimize the use of boom to protect sensitive areas
             such as rookeries;

        •    Efforts to inform officials, agencies and stakeholders on the optimal application of boom in
             specific circumstances;

        •    Utilization of VOO resources to deploy, tend, and maintain boom; and

        •    In-field repair facilities to allow re-use of damaged boom.

   Resulting Capabilities: The team’s efforts in boom deployment offer the following opportunities for the future:

        •    Advanced procedures and protocols for boom deployment;

        •    Working relationships with wildlife and environmental experts focused around optimizing the use of boom to
             protect sensitive areas and species;                                                                             57


        •    Advance discussion with officials and the general public on boom-deployment strategies; and

        •    VOO engagement in deployment and maintenance.




   A vessel deploys boom. The response team cooperated with government officials and environmental experts to
   maximize the use of boom while ensuring appropriate placement and application.
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     Clean-Up
     Marsh Cleaning
     The marsh cleaning operation is systematically deploying trained teams across the Gulf Coast employing a best-practice,
     “small-scale” approach on a larger scale. The response to marsh cleaning has been carefully managed by Unified
     Command (including NOAA) and will continue.

     Best Practice for Marsh Cleaning: Marsh cleaning is normally deployed on a small scale, using techniques established
                                                                                                                                            Supplemental multimedia
     that complement the natural remediation process while protecting fragile marsh ecosystems. These best-practice                         available for this subject:
     response strategies had not been adapted previously for marsh cleaning of this magnitude.                                              Response Video 12:
                                                                                                                                            Marsh Cleaning




58




     Layers of boom protect a marsh. Teams of 16 to 20 responders made up the more than 2,500 person marsh cleaning operation, which used
     proven techniques for effective and non-invasive remediation.




                                                    CAPABILITY HIGHLIGHT
                                                    Successful, modular expansion of “small-scale,” minimally invasive clean-up
                                                    techniques harnessing the natural remediation of marsh with the capability to
                                                    deploy responders to remote locations with limited infrastructure
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   Advances by the Response Team on Marsh Cleaning: Marsh-cleaning teams employed an array of proven
   techniques enhanced by new equipment, tools and logistical processes, including:

       •    The recognition that a “small-spill” approach applied at scale while complementing and accelerating the
            natural remediation properties of marshes can lead to an effective outcome;

       •    The rapid and efficient ramp-up of a marsh-cleaning operation of more than 2,500 workers through the
            development of modular task forces made up of 16 to 20 responders;

       •    The deployment of new tools such as concrete-pumping arms, used to inject water deep into marshes to
            accelerate natural flushing of oil;

       •    The development of tactics to address the logistical challenges of deploying clean-up workers to isolated sites
            across a large area, for example the use of shallow water barge “floatels” to house responders close to the
            clean-up site; and

       •    The engagement of local knowledge through the VOO program which improved maneuverability in the
            shallow marsh waters and reduced unintended damage.

   Resulting Capabilities: Capabilities developed through marsh-cleaning operations available for future
   response include:

       •    Structures and protocols to scale marsh-response teams efficiently and effectively on a modular basis;            59


       •    Systems to simultaneously deploy responders to facilitate clean-up work in remote, disparate locations in
            difficult conditions with limited existing infrastructure;

       •    New tools and techniques adapted for effective and non-invasive clean-up that harness the natural
            remediation capabilities of the marsh; and

       •    Boom deployment and removal strategies for marsh areas that maximize clean-up and minimize
            risk of damage.
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     Beach Cleaning
     The response team has directed extensive resources toward keeping oil off the beaches, and, where oil has appeared,
     toward rapidly and effectively cleaning them. To minimize intrusion, the response has emphasized close cooperation
     with the most affected communities.

     Prior Practice in Beach Cleaning: Because of the continual effect of tides on the sand, failure to reach oil on the beach
                                                                                                                                 Supplemental multimedia
     before the next tide cycle can lead to deposits becoming buried below the surface. Rapid beach cleaning has therefore       available for this subject:
                                                                                                                                 Response Video 13:
     always been a top priority. On the other hand, large-scale beach-cleaning operations can also have an intrusive,            Beach Cleaning
     disconcerting effect on beachgoers and the general public.

     Response Team Advancements in Beach Cleaning: The response team has taken steps that have advanced the
     methodology of beach cleaning while reducing intrusion:

         •    The introduction of nighttime shifts to reduce intrusion for beachgoers, reduce heat stress on workers
              and increase effectiveness;

         •    The training of more than 11,000 qualified community responders;

         •    Organization and equipping of beach-cleaning crews to minimize the footprint on the beach and focus on
              removing oil before the next tide cycle;

         •    Assessment and adaption of mechanical equipment previously used to condition and clean beaches of rocks,
60            sea grass and other debris, applying new attachments and procedures to allow deeper and faster cleaning
              of oiled shoreline;

         •    Evolution of these transitional techniques, using continuous-improvement methodology, into the “Sand Shark”
              fit-for-purpose mechanical beach-cleaning vehicle, which digs deeper and “lifts and sifts” sand to remove oil
              while minimizing sand removal; and

         •    Protocols to determine when and how to remove oil from beaches and to manage resulting waste.




                                                             CAPABILITY HIGHLIGHT
                                                             New turnkey approaches to beach cleaning employing advanced
                                                             technology, sensitivity to the public, close cooperation with
                                                             communities and a pool of trained community responders
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   Resulting Capabilities: The beach-cleaning aspect of the spill response has created new turnkey capabilities that can
   be deployed in response to a spill of any size:

        •     Increased strategic focus on removing oil with a single tide cycle, providing the right tool for the right problem
              and coordinating with local officials;

        •     Five “Sand Shark” machines;

        •     Oil-removal and waste-management protocols for a range of operating conditions;

        •     Organizational structure and control-of-work methods to maximize impact of beach cleaning teams; and

        •     A pool of trained community responders.




                                                                                                                                   61




    A Sand Shark developed specifically for the beach clean-up effort, using continuous improvement
    methodology, allowed deeper digging to capture oil below the surface.
                                                                                                                                 4
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     Key Lessons From the
     Deepwater Horizon Response
     The Deepwater Horizon spill response has driven large capability improvements for our industry as a whole.
     These new capabilities can be an integral part of an improved planning and response regime for industry,
     government and responders.

     We believe the new capabilities built over the course of these last four months, and laid out in the two previous
     sections, reflect five broader lessons from the Deepwater Horizon response:



     Lesson 1: Collaboration
     A broad range of stakeholders has come together in the wake of Deepwater Horizon to provide effective
     solutions and build new capabilities.

     It would have been difficult for any one company to address the challenges resulting from Deepwater Horizon alone.
62
     The response has benefited from close collaboration with -- and the capabilities of -- the U.S. Coast Guard, BOEMRE, and
     dozens of other partners and stakeholders from government, industry, academia and the affected communities, as well
     as around the globe.

     At its peak, this collaboration brought together:
          •    More than 47,800 responders;
          •    Dozens of federal, state and local agencies;
          •    Eight exploration and production operators;
          •    Hundreds of industry suppliers;
          •    More than 6,000 marine vessels, including approximately 5,800 VOOs;
          •    Six deepwater drilling vessels;
          •    Two FPSOs;
          •    150 aircraft; and
          •    Partners and governments from no fewer than 19 countries…
     …all working through five ICPs and 19 Branch Offices

     Many of the participants in this response diverted efforts from other tasks to join or direct resources to the subsea and
     surface response efforts. Moreover, the collaboration was illustrated by the willingness of industry peers not only to
     supply equipment but also to release suppliers and vendors to participate fully in the effort by accommodating BP
     requests for equipment, support and materials above their own.
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    As a result of this extensive collaboration, the industry and the nation as a whole now have these capabilities available:

        •     Greater familiarity and strengthened relationships among industry, government and responders;

        •     A network of seasoned experts and support personnel drawn from around the world; as well as

        •     An expanded and proven roster of suppliers and vendors with specific capabilities.




                                                                                                                                       63




   The response benefited from close collaboration among the Coast Guard, BOEMRE, and dozens of other partners and stakeholders from
   government, industry and the affected communities, and at least 19 countries around the world.
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     Lesson 2: Systemization
     The response has required the development of extensive systems, procedures and organizational capabilities
     to adapt to changing and unique conditions.

     As the Deepwater Horizon spill continued despite efforts at the wellhead, the response effort also progressed, expanded,
     and took on not just new tasks and directions but new personnel and resources.

     As a result, from source to shore, existing systems were evolved and expanded and new ones developed to advance
     work flow, improve coordination, focus efforts and manage risks.

     The value of these systems was underscored by the ability of a large containment team to operate efficiently in close
     quarters, to coordinate on an ongoing basis from an offshore base, and ultimately to succeed in containing
     and capping the well.

     Some of these new, modified or expanded systems have included:

         •    The expanded use of visual 4D planning for complex surface and subsea operations. Storyboarding of each
              aspect of positioning, construction and interventions allowed the maximum number of potential tasks to
              be completed in extremely close proximity, greatly mitigated risks, and increased the likelihood of success in
              interventions;
64
         •    The adaptation of the HIVE into a single point of management for all ROVs deployed at the containment site;

         •    The standing up or expansion of purpose-built organizations in disciplines such as near-source containment,
              relief wells, long-term containment and disposal and SIMOPS, with streamlined processes for decision-making
              and action;

         •    An offshore SIMOPS director position, staffed 24/7 to oversee and safely coordinate the movements of highly
              complex operations; and

         •    The rigorous and detailed integrated planning across multiple parallel activities and sites, which has been
              practiced continuously for every day of the response, engaging all levels within the response hierarchy.

     The response effort in open water, near shore and onshore also evolved new systems, protocols and organizational
     capabilities. The length of the spill required a continuous scaling of the effort and the development of systems and
     protocols for qualifying and training responders, optimally organizing work flow and increasing the efficiency and
     effectiveness of operations. Systems introduced, adapted or built out in the course of the response included:

         •    The Branch Office Structure within the ICPs, designed to delegate appropriate authority to the local level for
              greater effectiveness;

         •    The use of modular structures deploying small, well-organized units to a range of locations instead of simply
              expanding existing teams, allowing efficient scaling of operations;
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       •    The VOO program, qualifying a trained force with structure and protocols for integration,
            command and deployment;

       •    Enhanced work flows, systems and protocols for air surveillance; and

       •    Improved supply-chain management to anticipate needs, step up production and ensure timely delivery of
            high-quality and fit-for-purpose materials and equipment such as dispersant; fire, containment and ocean
            boom; and skimmers that are not conventionally produced in the large quantities required for a spill response
            of this nature.

   As the spill extended in length, another system vitally needed in both containment and response was a strategic-
   planning function within the ICS Planning Section with dedicated resources connected to the ongoing operations but
   focused on addressing a range of developing scenarios over the longer term. Critical issues addressed by the strategic
   planning team included:

       •    The building-in of multiple levels of contingency for containment operations by dedicated teams;

       •    “Trigger-point” geographic response plans to coordinate and prioritize resources as operational conditions
            require (e.g., oil reaching a certain distance from shore);

       •    Severe weather plans to protect people, equipment, shorelines and sensitive areas while minimizing
            disruption to operations, including demobilization and re-mobilization priorities and procedures (e.g., essential/
            nonessential staff, VOOs, staging, surveillance and boom removal and redeployment); and                              65


       •    Critical resourcing to keep necessary functions fully staffed on an ongoing basis while arranging
            appropriate relief.

   The adoption of these systems will ensure the ability to respond more rapidly at scale with a clear direction as to
   personnel, resource and organizational needs. The new capabilities upon which future containment efforts may be
   able to call include:

       •    Next generations of existing crisis and contingency plans building on the know-how, equipment and systems
            developed in the Deepwater Horizon response;

       •    Organizational charts and procedures accelerating the stand up of dedicated teams in key disciplines;

       •    The development of enhanced decision trees and protocols for future spill responses;

       •    Streamlined processes for completing hundreds of tasks; and

       •    New lessons in the risk management of complex interventions and responses.
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     Lesson 3: Information
     Timely, reliable information has been essential across both the containment and response operations to
     achieve better decision-making, ensure safe operations and inform stakeholders and the public.

     Reliable information is indispensable in managing any crisis but especially amid the far-reaching challenges, relentless
     pressures and often hazardous conditions confronting spill response. The Deepwater Horizon responders were able
     to take advantage of cutting-edge tools to manage information-sharing inside Unified Command and externally, to
     improve decision-making and to coordinate complex activities across response and containment, such as
     simultaneous operations.

     State-of-the-Art Information Tools: The countless uses of state-of-the-art information capabilities to make smarter
     decisions and enable safe, effective response include the following:

         •    Among the most important information in addressing the spill was to “know your oil.” Teams both at the
              source and in the field were trained to understand the characteristics of surface oil – which could range from
              thick sludge to thin sheens – and its rapid movement in ocean current and flows so that they could distinguish
              the type of oil and direct appropriate responses;

         •    The HIVE was retrofitted with 12 monitors connected to high definition cameras, with real-time video logging
              allowing instantaneous comparisons of current to previous footage. ROV operators were connected to the
66            HIVE by a open communications system;

         •    The deployment of a range of information tools in SIMOPS included novel applications of the relatively new
              AIS, providing a shared, ongoing visualization of vessel positioning and headings;

         •    Multiple tiers of redundancy for communications via satellite connections, maintained regardless of weather
              conditions and proximity, as well as shortwave communications for vessel-to-vessel and field-to-shore
              connections, depending on the need, proved necessary across a range of containment efforts;

         •    The COP deployed state-of-the-art information technology to deliver instant visualization of oil movement
              and characterization, as well as response activities from the open-water to the shoreline, to all leaders and
              responders via their PCs or PDAs;

         •    The development of common communications tools was also vital to allow air surveillance teams to remain in
              contact with on-water skimmers, boom teams and controlled in-situ burning operations and put
              “boats on oil;” and

         •    The Alternative Response Technology (ART) team screened more than 120,000 ideas for new containment and
              response technologies, techniques and approaches from individuals and experts around the world.
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   Scale-up of Scientific Capability: Another valuable information component of the overall response was the rapid
   scale-up in scientific capability. For the Deepwater Horizon spill, the response team pulled together experts from
   disciplines such as geochemistry, industrial hygiene, water sampling, air sampling, reservoir monitoring, ecology,
   environmental science, hydrogeology, flow assurance, process safety, toxicology, zoology, ornithology and geophysics.
   This wide net provided the intellectual edge needed for an effective response.

   A Focus on Dialogue: Finally, participants across both theaters have recognized the importance of keeping our
   partners in government at all levels informed along with, our many stakeholders, and the general public, on our
   strategies and on the progress of our efforts.

   The Deepwater Horizon response was the first to encounter the combination of multiple, highly competitive cable news
   outlets with the broadband Internet and a web of specialized websites, blogs and other social media. The resulting 24/7
   coverage of a spill of this magnitude and duration has naturally engendered an unprecedented level of concern.

   To address this challenge, the response team has employed a range of communications efforts. Unified Command has
   encouraged many initiatives, including the following:

       •    Media access to ongoing response efforts, at the source and on the shore, and daily briefings to keep the
            public informed on progress;

       •    The extensive use of graphics and animations to illustrate the complex actions needed to respond to the
            Deepwater Horizon incident;
                                                                                                                                67
       •    Ongoing postings of statistics on matters relating to all aspects of the spill response -- from wildlife to water
            column sampling to air quality -- on the BP website, which has experienced millions of visits;

       •    The development of structures for information, such as the requirement that branch directors do their best to
            provide information to local communities; and

       •    Support for the ART program to obtain public feedback on way to try to improve the spill response.

   Going forward, responders will be able to benefit from all these efforts to address the concerns of the public and the
   need to communicate the facts as quickly as possible.
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     Lesson 4: Innovation
     The urgency in containing the spill and dealing with its effects has driven innovation in technology, tools,
     equipment, processes and know-how.

     The concentration of talent, compressed timeframes for effective solutions, and the need to achieve results quickly
     at scale without compromising standards for safety and risk management made the Deepwater Horizon response a
     natural laboratory for innovation both in technology and systems.

     The result has been a series of developments, ranging from incremental enhancements to step changes in technologies
     and techniques, that have advanced the state of the art and laid the foundation for future refinements as part of an
     enhanced regime for any type of source-to-shore response.

     As laid out in more detail in the previous two sections, these innovations cover areas including:

     Innovations in Equipment:
         •    Open and closed containment                          •       Subsea dispersant injection
         •    Subsea hydraulic distribution and                    •       Surveillance communications and
              Tools for ROVs                                               data management
         •    Hydrate mitigation                                   •       Skimmer technology
         •    Acoustic telemetry                                   •       Boom technology
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         •    Information technology                               •       Controlled in-situ burning technology
         •    Multipurpose vessels                                 •       Beach-cleaning technology
         •    Ranging technologies                                 •       Marsh-cleaning technology
         •    FPSOs and riser systems

     Innovations in systems, process and procedure:
         •    System integration tests                                 •   Diagnostics and measurement
         •    Diagnostic pressure measurements                         •   Dynamic positioning
         •    Removal of damaged risers                                •   Containment disposition
         •    Closed system construction                               •   Emergency disconnect/hurricane evacuation
         •    Redundant systems                                        •   Dispersant management and testing
         •    4D planning                                              •   Supply chain management
         •    Storyboarding                                            •   Controlled in-situ burning
         •    Marine SIMOPS                                            •   Skimming
         •    Visualization tools for marine ops                       •   Booming
         •    Flaring                                                  •   Branch Structure
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       •   VOC risk management                              •    Beach cleanup
       •   Offtake operations                               •    Wildlife protection/rescue
       •   Relief well operations                           •    Marsh management
       •   Kill strategy                                    •    VOO command structure
       •   Ranging                                          •    Offshore construction
       •   ROV SIMOPS (HIVE)                                •    Shore cleanup

   Organizational Schemes
      •   Near source containment
      •   Relief wells
      •   Containment disposal
      •   SIMOPS
      •   Branch office organization
      •   Strategic planning

   These innovations are available for further refinement, advancement and institutionalization to save time and
   effort in standup and advance rapid resolution of any future incidents that should occur.




                                                                                                                   69
                                                                                                                        5
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     Mobilizing for the Future

     As this document has presented in words and pictures, the largest spill response in history has resulted in
     extensive new capabilities that could represent an important mobilization platform. These new capabilities track
     the learnings laid out in the previous section:

         •    New and strengthened collaborative relationships spanning government, industry and a range
              of stakeholders, from around the globe, as well as a greatly expanded cadre of trained and highly
              motivated experts and responders;

         •    Advanced systems, processes, protocols, procedures and organizational capabilities that can
              significantly reduce the time and accelerate the effectiveness of any response;

         •    Novel applications of state-of-the-art information tools and techniques that can improve decision-
              making, increase safety and reduce risk, enhance the speed and effectiveness of response and
              advance understanding of spills and appropriate countermeasures on the part of leaders, stakeholders,
              communities and the public; and

         •    Innovations in the form of both incremental advances and step changes in technology and
70            techniques, spanning containment and response.

     Moreover, seen from a broader perspective, the containment and response teams also demonstrated three
     fundamental capabilities on behalf of the industry:

         •    To contain oil flow in deep water, using technologies and skills acquired during the intense period of
              the containment effort from the time of the incident on the rig until the flow was stopped;

         •    To track and address oil in several locations on the open water of the Gulf and near shore; and

         •    To respond onshore to the equivalent of simultaneous local spills.
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   BP is determined to maintain and strengthen these new capabilities – and supports BOEMRE actions in
   that direction.

   Accordingly, we are already taking a number of steps to help advance the process of sustaining and expanding
   the capabilities from the spill response.

   We are sharing our lessons, experiences and advancements through various industry mechanisms, and we are
   looking forward to making response leaders and experts available for additional activities in this regard.

   More important, we are working through efforts such as this report to build collaboration within Unified
   Command led by the U.S. Coast Guard, with full participation, by BOEMRE, and other members of the
   government response team.

   The work of Unified Command has expanded industry capabilities and know-how to bring the current crisis
   closer to resolution and lay the groundwork for new approaches.

   All of us at BP are deeply grateful for BOEMRE support in the Deepwater Horizon response and the opportunity
   to present this report. We would like to expand upon this dialogue and fully capitalize on the unique opportunity
   to build on the lessons from Deepwater Horizon and together, lead further advances in the state of the art
   of spill response.



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     Appendix

     ACP            Area Contingency Plan

     AIS            Automatic Identification Software

     ART            Alternative Response Technology

     AUV            Autonomous Underwater Vehicle

     BOEMRE         Bureau of Ocean Energy Management, Regulation and Enforcement

     BOP            Blowout Preventer

     CDP            Long Term Containment Disposal Project

     COP            Common Operating Picture

     DARPS          Differential Absolute and Relative Positioning Sensor

72   DDII           Development Driller II

     DDIII          Development Driller III

     DP             Dynamically Positioned

     EPA            United States Environmental Protection Agency

     ERMA           Environmental Response Management Application®

     FPSO           Floating Production, Storage and Offloading Unit

     FRAT           Forensic Rapid Assessment Team

     GIS            Geographic Information System

     HIVE           Highly Immersive Visual Environment

     ICP            Incident Command Post

     JAG            Deepwater Horizon Joint Analysis Group

     LEL            Lower Explosive Limit
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    LMRP        Lower Marine Riser Package

    NGIA        National Geospatial Intelligence Agency

    NOAA        National Oceanographic and Atmospheric Administration

    OSHA        Occupational Safety and Health Administration

    PSV         Platform Support Vessel

    RAT         Rapid Assessment Team

    RITT        Riser Insertion Tube Tool

    ROV         Remotely Operated Vehicle

    SADI        Subsea Autonomous Dispersant Injection

    SCAT        Shoreline Clean-up Assessment Teams

    SHPO        State Historic Preservation Office

    SIMOPS      Simultaneous Operations
                                                                               73

    SINTEF      Foundation for Scientific and Industrial Research, Norwegian
                Institute of Technology

    SLAR        Side-Looking Airborne Radar

    STR         Shoreline Treatment Recommendations

    USGS        United States Geological Survey

    VOC         Volatile Organic Compound

    VOO         Vessel of Opportunity
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Supplemental Multimedia DVD Contents

Hydro-Static Kill                                                                                        Response Video 1: Response Overview

Skimming Overview                                                                                        Response Video 2: ICPs at Work

Top Hat Installation                                                                                     Response Video 3: Wildlife

Relief Well and Ranging                                                                                  Response Video 4: Vessels of Opportunity

ROV Video 1: Subsea Staging Area                                                                         Response Video 5: SCAT in Action

ROV Video 2: Successful 1st cut of Riser                                                                 Response Video 6: Air Surveillance

ROV Video 3: Riser Cutting above BOP -                                                                   Response Video 7: Branch Offices in Action

     Diamond Blade Cutter                                                                                Response Video 8: Open-Water Skimming

ROV Video 4: LMRP Cap Removal                                                                            Response Video 9: Controlled In-Situ Burning

ROV Video 5: BOP to Choke Manifold Connections                                                           Response Video 10: Dispersants

ROV Video 6: Bolt and Flange Removal                                                                     Response Video 11: Booming

ROV Video 7: Transition Spool Installation                                                               Response Video 12: Marsh Cleaning

ROV Video 8: Capping Stack Installation                                                                  Response Video 13: Beach Cleaning




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